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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                     4:13CR3003

       vs.
                                                          MEMORANDUM AND ORDER
IRMA CRISPIN-GOMEZ,

                      Defendant.


       Defendant has moved to continue the trial currently set for December 9, 2013. (Filing No.
28). As explained in the motion, the parties need additional time to investigate this case, review
discovery, and prepare for trial. The motion to continue is unopposed. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 28), is granted.

       2)      The trial of this case is set to commence before the Honorable John M. Gerrard,
               United States District Judge, in Courtroom 1, United States Courthouse, Lincoln,
               Nebraska, at 9:00 a.m. on December 9, 2013, or as soon thereafter as the case
               may be called, for a duration of ten (10) trial days. Jury selection will be held at
               commencement of trial.

       3)      Based upon the showing set forth in the defendant’s motion and the
               representations of counsel, the Court further finds that the ends of justice will be
               served by continuing the trial; and that the purposes served by continuing the trial
               date in this case outweigh the interest of the defendant and the public in a speedy
               trial. Accordingly, the additional time arising as a result of the granting of the
               motion, the time between today’s date and December 9, 2013, shall be deemed
               excludable time in any computation of time under the requirements of the Speedy
               Trial Act, because despite counsel’s due diligence, additional time is needed to
               adequately prepare this case for trial and failing to grant additional time might
               result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7).


       October 22, 2013.
                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
